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                                          5

                                          6    Attorneys for Plaintiff
                                               Michael Degtyarev
                                          7

                                          8                                   UNITED STATES BANKRUPTCY COURT

                                          9                              FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                          10                                               SAN FRANCISCO
LA W OF FI CE OF JO S EPH A . L E PE RA




                                          11
                                               In re: LEONID IGUDESMAN, aka LEON                    ) Case No.: 10-32694 TEC 7
                                          12   IGUDESMAN, aka LEONARD IGUDESMAN                     )
                                               and ELIZAVETA IGUDESMAN aka LISA                     ) Adv. Proc. Case No.:
                                          13   IGUDESMAN, aka ELIZABETH IGUDESMAN                   )
                                               __________________________________________________   ) COMPLAINT TO DETERMINE
                                          14                                                        ) NONDISCHARGEABILITY OF DEBT
                                               MICHAEL DEGTYAREV,                                   ) PURSUANT TO 11 U.S.C. Sections
                                          15                                                        ) 523(a)(2)(A), 523(a)(2)(B), 523(a)(4),
                                                                                                    ) 523(a)(6), 727(a)(2)(A) and 727(a)(3)
                                                               Plaintiff,                           )
                                          16
                                                                                                    )
                                          17           v.                                           )
                                                                                                    )
                                          18   ELIZABETH IGUDESMAN, an individual;                  )
                                                                                                    )
                                               LEONID IGUDESMAN, an individual; and                 )
                                          19   DOES 1-20 inclusive                                  )
                                          20                                                        )
                                                               Defendant.                           )
                                                                                                    )
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                                                                                              1
                                          27                   Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
                                                      Complaint to Determine Nondischargeability of Debt Pursuant to 11 U.S.C. Sections
                                          28         523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
                                           Case: 10-03185        Doc# 1     Filed: 10/25/10         Entered: 10/25/10 19:15:58   Page 1 of 16
                                          1           Plaintiff and Creditor MICHAEL DEGTYAREV (“Plaintiff” or “Degtyarev”) files this

                                          2    Complaint to Determine the Nondischargeability of Debt Pursuant to 11 U.S.C. §§ 523(a)(2)(A),

                                          3    523(a)(2)(B), 523(a)(4), 526(a)(6), 727(a)(2)(A) and 727(a)(3) against the Debtor and

                                          4    Defendants ELIZABETH IGUDESMAN and LEONID IGUDESMAN (“Defendant” or “Igudesman”),

                                          5    and avers as follows:

                                          6
                                                                                              I.
                                          7
                                                                                    CORE PROCEEDING
                                          8
                                                      1.      This adversary proceeding relates to the bankruptcy commenced under Chapter
                                          9
                                               7, captioned, In re Elizabeth Igudesman, U.S. Bankruptcy Court, Northern District of California,
                                          10
                                               San Francisco Division, Case No. 10-32694; seeks to determine the nondischargeability of a
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                                          11
                                               debt of Debtor Elizabeth Igudesman; and is a core proceeding under 28 U.S.C. § 157(b)(2)(A),
                                          12
                                               (I) and (O).
                                          13
                                                                                             II.
                                          14
                                                                             SUBJECT MATTER JURISDICTION
                                          15
                                                      2.      This Court has subject matter jurisdiction over this adversary proceeding
                                          16
                                               pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334, and 11 U.S.C. § 523 because this is a core
                                          17
                                               proceeding to determine the nondischargeability of a particular debt of Defendant.
                                          18
                                                                                             III.
                                          19
                                                                                           VENUE
                                          20
                                                      3.      Venue is proper in the Northern District of California under 28 U.S.C. § 1408
                                          21
                                               and/or 28 U.S.C. § 1409. The San Francisco County Division is proper because Defendant filed
                                          22
                                               her bankruptcy petition therein.
                                          23
                                               ///
                                          24
                                               ///
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                                               ///
                                          26
                                                                                             2
                                          27                  Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
                                                      Complaint to Determine Nondischargeability of Debt Pursuant to 11 U.S.C. Sections
                                          28         523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
                                           Case: 10-03185      Doc# 1    Filed: 10/25/10   Entered: 10/25/10 19:15:58     Page 2 of 16
                                          1    ///

                                          2                                                     IV.

                                          3                                               THE PARTIES

                                          4            4.       On July 18, 2010 Defendant filed a Chapter 7 bankruptcy petition in the United

                                          5    States Bankruptcy Court for the Northern District of California. . Defendant is a debtor in this

                                          6    bankruptcy proceeding.

                                          7            5.       Plaintiff resides in San Francisco County, California, within the Northern District

                                          8    of California, San Francisco, U.S. Bankruptcy Court and qualifies to be a creditor in the above
                                          9    captioned bankruptcy case.
                                          10           6.       Plaintiff is ignorant of the true names and capacities of defendants sued herein

                                               as DOES 1 through 20, inclusive, and therefore sues these defendants by such fictitious names.
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                                          11

                                          12   Plaintiff will amend this complaint to allege their true names and capacities when ascertained.
                                          13   Plaintiff is informed, believes and thereon allege that each of the fictitiously named defendants
                                          14   are responsible in some manner for the occurrences herein alleged, and that Plaintiff’s
                                          15   damages as herein alleged were proximately caused by their conduct.
                                          16                                                     V.
                                          17                                       STATEMENT OF STANDING

                                          18           7.       Plaintiff incorporates herein paragraphs 1 through 5, inclusive of this Complaint,

                                          19   as if set forth in full.

                                          20           8.       Plaintiff is an undisputed creditor of Defendant and, thus, has standing to bring

                                          21   this action pursuant to 11 U.S.C. § 523. Plaintiff has timely filed this action.

                                          22                                                    VI.

                                          23                                        GENERAL ALLEGATIONS

                                          24           9.       Plaintiff entered into a contract with Bridgeline Capital and on March 10, 2009 to
                                          25
                                               modify Plaintiff’s home loan mortgage with Washington Mutual, which is now JPMorgan Chase
                                          26
                                                                                               3
                                          27                    Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          28         523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
                                           Case: 10-03185         Doc# 1   Filed: 10/25/10    Entered: 10/25/10 19:15:58          Page 3 of 16
                                               and Co. The direct real estate broker initially assigned to Plaintiff’s file was Defendant.
                                          1

                                          2    Pursuant to the loan modification contract, Plaintiff paid an upfront fee of $2,695 for

                                          3    Bridgeline Captial’s loan modification services.
                                          4           10.    On or about July 21, 2009, Plaintiff received an e-mail from Defendant
                                          5
                                               requesting a short term loan in the amount of $200,000. Defendant represented to Plaintiff
                                          6
                                               that she needed “[$]150-200K badly,” and that she “had someone willing to give [her a] 200K
                                          7
                                               loan for a year but he will have the money in September only.” She then asked Plaintiff if he
                                          8
                                          9    would be willing to loan her the money for two months. Defendant assured Plaintiff that the

                                          10   loan she was receiving in two months was a sure thing, and it was already secured and
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                                          11   guaranteed. Defendant also promised in return for the loan that she would pay Plaintiff “good
                                          12
                                               interest.” A true and correct copy of the e-mail asking Plaintiff for a short term loan is attached
                                          13
                                               hereto as Exhibit 1.
                                          14
                                                      11.    On or about July 31, 2009 Plaintiff agreed to loan Defendant the $200,000. On
                                          15

                                          16   the morning of the transfer, Defendant asked to modify the terms of the loan to include

                                          17   $240,000 on the principal at an interest rate of 7.5%. Defendant again promised Plaintiff that
                                          18
                                               she was receiving the funds from another source, and the loan with interest would be fully
                                          19
                                               repaid in 60 days.
                                          20
                                                      12.    Plaintiff and Defendant executed a note on July 31, 2009. The terms of the note
                                          21

                                          22   were as follows: Defendant agreed to pay Plaintiff the principal amount of the loan, $240,000,

                                          23   plus a yearly interest rate of 7.5% by September 30, 2009. If Defendant failed to pay the

                                          24   balance by September 30, 2009, Defendant would owe Plaintiff a penalty charge in the amount
                                          25
                                               of 15% of the loan or $36,000.00. As further assurance, Defendant secured the note with a
                                          26
                                                                                            4
                                          27                 Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
                                                      Complaint to Determine Nondischargeability of Debt Pursuant to 11 U.S.C. Sections
                                          28        523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
                                           Case: 10-03185      Doc# 1    Filed: 10/25/10    Entered: 10/25/10 19:15:58      Page 4 of 16
                                               violin bow collection owned by Defendant and her husband. A true and correct copy of the
                                          1

                                          2    contract is attached hereto as Exhibit 2. Defendant represented to Plaintiff that the value of

                                          3    the violin bow collection was worth well over the value of the loan and would be sufficient to
                                          4    secure the repayment of the loan in case of default.
                                          5
                                                      13.    On July 31, 2009, after the agreement was finalized and notarized, Plaintiff wrote
                                          6
                                               a check made payable to Elizabeth Igudesman for $240,000. A true and correct copy of the
                                          7
                                               check is attached hereto as Exhibit 3.
                                          8
                                          9           14.    On September 29, 2009, Plaintiff sent Defendant an e-mail reminder that the

                                          10   note’s balance and interest was due the following day, October 1, 2009. A true and correct copy
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                                          11   of the e-mail is attached hereto as Exhibit 4.
                                          12
                                                      15.    On or about October 1, 2009, Defendant failed to pay Plaintiff the balance of the
                                          13
                                               loan with interest and failed to surrender the violin bow collection.
                                          14
                                                      16.    On or about October 8, 2009, Plaintiff hired an attorney, Robert L. Shepard, to
                                          15

                                          16   assist him in collecting the balance on the note. Mr. Shepard sent Defendant a demand letter,

                                          17   asking for repayment of the note. The letter warned Defendant that if the note was not repaid,
                                          18
                                               Plaintiff would be forced to initiate a legal proceeding against her. In addition to the demand
                                          19
                                               letter Plaintiff attempted to negotiate a deal with Defendant, giving her three extra weeks to
                                          20
                                               pay off the balance of the loan and waiving the interest and attorney fees. A true and correct
                                          21

                                          22   copy of the Demand Letter is attached hereto as Exhibit 5.

                                          23          17.    The demand letter was unsuccessful. On November 3, 2009, Plaintiff initiated a

                                          24   lawsuit against Defendant alleging Fraudulent Misrepresentation, Breach of Contract,
                                          25

                                          26
                                                                                            5
                                          27                 Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          28        523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
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                                               Conversion and Unjust Enrichment. A true and correct copy of the filed complaint is attached
                                          1

                                          2    hereto as Exhibit 6.

                                          3            18.      Defendant answered the lawsuit on December 17, 2009. Defendant admitted all
                                          4    statements in the Complaint were true except Paragraphs 5, 8, 11, 12, and 22. Defendant also
                                          5
                                               claimed she had no information on Paragraphs 14, 16, 17, 18, and 29. A true and correct copy
                                          6
                                               of Defendant’s Answer to the Complaint is attached hereto as Exhibit 7.
                                          7
                                                       19.      The lawsuit progressed, Plaintiff initated discovery on or about January 7, 2010.
                                          8
                                          9    Defendant failed to answer discovery, forcing Plaintiff to file a motion to compel discovery on

                                          10   or about February 25, 2010. A case management conference was held where the court set a
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                                          11   trial date for July 19, 2010 at 9:30 a.m. However, on July 18, 2010 Defendant filed for
                                          12
                                               bankruptcy. As a result of the filing, the default trial that was conducted on July 19, 2010
                                          13
                                               without knowledge of the automatic stay from the bankruptcy proceeding resulted in an oral
                                          14
                                               finding of fraud. However, because the bankruptcy was found to be on file later that afternoon,
                                          15

                                          16   the final judgment was not prepared. Plaintiff then initiated this adversary proceeding to

                                          17   determine the nondischargeability of debt pursuant to 11 U.S.C. §§ 523(a)(2)(A), 523(a)(2)(B),
                                          18
                                               523(a)(4), 523(a)(6), 727(a)(2)(A), 727(a)(3).
                                          19
                                                                               FIRST CLAIM FOR RELIEF
                                          20      [For Nondischargeability of Debt for False Pretenses, False Representation, and/or
                                                                    Actual Fraud Under 11 USC § 523(a)(2)(A)]
                                          21
                                                       20.      Plaintiff incorporates here in paragraphs 1 through 19 of this Complaint as set
                                          22
                                               forth in full.
                                          23
                                                       21.      Pursuant to 11 U.S.C. § 523(a)(2)(A), a discharge under Section 727 does not
                                          24
                                               discharge a debtor from any debt for money obtained by false pretenses, a false
                                          25
                                               representation, or actual fraud.
                                          26
                                                                                               6
                                          27                    Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
                                                       Complaint to Determine Nondischargeability of Debt Pursuant to 11 U.S.C. Sections
                                          28         523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
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                                          1               22.   Commencing in late 2009, Defendant asked Plaintiff for a $240,000 loan. In

                                          2    addition to Defendant stating that she needed it badly for personal reasons, she also

                                          3    represented to Plaintiff that loaning her the $240,000 would make it easier for Plaintiff to

                                          4    obtain a loan modification by making Plaintiff look like he couldn’t afford the original loan he

                                          5    was locked in to. Since Defendant was not only Plaintiff’s friend, but also his licensed real

                                          6    estate broker, Plaintiff was convinced by Defendant to loan her the money. Defendant, in

                                          7    exchange for funds in the amount of $240,000 from Plaintiff, agreed to repay the principal

                                          8    amount of the loan plus interest within 60 days from the date of the loan. Defendant also
                                          9    secured the promissory note with a violin bow collection. Defendant represented that this
                                          10   collection was worth between $250,000 and $500,000. Defendant promised she would give

                                               Plaintiff a detailed list of the violin bows she owned and their appraised value.
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                                          11

                                          12              23.   Defendant, despite promising a list fully describing the violin bows and their
                                          13   values, failed to provide that list as promised.
                                          14              24.   Defendant promised in the written and notarized note that the loan would be
                                          15   secured by the violin bow collection which Defendant claimed, was worth more than the
                                          16   amount due under the loan. This assertion has been proven to be fraudulent. During the
                                          17   bankruptcy proceeding, it came to light that Defendant never had control or knowledge about
                                          18   the violin bow collection, the collection was the solely managed by Defendant’s husband.

                                          19   Further, Defendant stated at the first creditors meeting that she and her husband did not own

                                          20   or have possession of most of violin bow collection at the time she asked for the money from

                                          21   Plaintiff and signed the promissory note using the violin bows as security. The majority of the

                                          22   violin bow collection was sold and all that was left of the bow collection in 2009 was one bow

                                          23   that was used for Defendant’s husband’s opera work, and 30-40 student bows, worth very

                                          24   little.

                                          25              25.   Defendant represented to Plaintiff that the loan she needed was a short term

                                          26   loan, and that she only needed the loan from Plaintiff to bridge the gap between the time
                                                                                            7
                                          27                 Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          1    Defendant needed $240,000 to the time Defendant would receive alternative funding from

                                          2    another lender.

                                          3            26.    To Plaintiff’s knowledge, the other loan Defendant was supposed to receive in

                                          4    September never materialized. Defendant represented to Plaintiff that she had already secured

                                          5    a loan with another lender and would receive the money in September. Based on this false

                                          6    representation by Defendant, Plaintiff felt comfortable loaning Defendant the money, knowing

                                          7    that he would receive the principal plus interest within two months.

                                          8            27.    The foregoing representations and pretenses by Defendant were false when
                                          9    made.
                                          10           28.    Defendant knew that the foregoing representation and pretenses were false

                                               when made. Defendant had not entered into an agreement with a lender to loan her $240,000.
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                                          11

                                          12   Even if Defendant was in negotiations with lenders to secure a loan or was promised a loan
                                          13   amount, she represented to Defendant that she had already secured the loan amount, and was
                                          14   unquestionably receiving $240,000 from a lender in September. Further, Defendant
                                          15   represented to Plaintiff that she owned a bow collection, at the time of the loan, worth between
                                          16   $250,000 and $500,000 that would adequately cover the amount of the loan in case of a
                                          17   default. Not only was the violin bow collection not the property of Defendant, but the violin
                                          18   bow collection had already been sold when Defendant offered it as security to Plaintiff.

                                          19           29.    Defendant used the foregoing misrepresentations and pretenses, as well as her

                                          20   position as Plaintiff’s licensed real estate broker, as devices to obtain Plaintiff’s funds and to

                                          21   delay Plaintiff’s receipt of the funds or the violin bow collection, in order to steal, divert,

                                          22   misappropriate, embezzle and conceal the funds due and owing to Plaintiff.

                                          23           30.    Defendant intended for Plaintiff to rely on the foregoing representations and

                                          24   pretenses to induce Plaintiff into loaning Defendant $240,000.

                                          25           31.    Plaintiff reasonably and justifiably relied on the foregoing representations and

                                          26   pretenses.
                                                                                             8
                                          27                  Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          1            32.      Had Plaintiff know Defendant’s true intention and the true facts, Plaintiff would

                                          2    not have entered into a written loan agreement with Defendant and never would have given

                                          3    Defendant the loan in the amount of $240,000.

                                          4            33.      Plaintiff has sustained substantial damages from Defendant’s actions. Not only

                                          5    has Plaintiff still not received his $240,000 loan repayment plus 7.5% yearly interest, but he

                                          6    also has sustained considerable legal fees from bringing a civil suit against Defendant in San

                                          7    Francisco Superior Court and has incurred legal fees to file this adversary proceeding. To date,

                                          8    Plaintiff’s legal fees totaling $10,700.
                                          9            34.      The total balance now due under the loan equals $293,360.64. This figure was
                                          10   calculated by adding the original principal loan amount of $240,000.00, the accrued interest of

                                               $17,360.64 and the late fee penalty of 15% or $36,000.00.
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                                          12           35.      As a direct and proximate result of Defendant’s fraudulent representations and
                                          13   pretenses, and Plaintiff’s reasonable reliance thereon, Defendant, obtained, diverted,
                                          14   misappropriated, embezzled, converted and concealed $240,000 belonging and payable to
                                          15   Plaintiff.
                                          16           36.      As set forth above, Defendant obtained money from Plaintiff by false pretenses,
                                          17   false representations, and actual fraud, which were committed both orally and in writing.
                                          18   Accordingly, pursuant to 11 U.S.C. § 523(a)(2)(A), Defendant is not entitled to a discharge of

                                          19   Plaintiff’s claim against him for the amount of $240,000, plus transaction costs, costs of suit,

                                          20   attorneys’ fees and interest.

                                          21
                                                                               SECOND CLAIM FOR RELIEF
                                          22                    [For Nondischargeability of debt for breach of fiduciary duty
                                                                             Under 11 U.S.C. § 523(a)(2)(B)]
                                          23
                                                       37.      Plaintiff incorporates here in paragraphs 1 through 36 of this Compalint as set
                                          24
                                               forth in full.
                                          25

                                          26
                                                                                               9
                                          27                    Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          28         523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
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                                          1           38.    Pursuant to 11 U.S.C. § 523(a)(2)(B), a discharge under section 727 does not

                                          2    discharge a debt “for money, property, services, or an extension, renewal, or refinancing of

                                          3    credit, to the extent obtained by— use of a statement in writing— (i) that is materially false;

                                          4    (ii) respecting the debtor’s or an insider’s financial condition; (iii) on which the creditor to

                                          5    whom the debtor is liable for such money, property, services, or credit reasonably relied; and

                                          6    (iv) that the debtor caused to be made or published with intent to deceive.”

                                          7           39.    Defendant received money obtained by written statements to Plaintiff, in the

                                          8    form of e-mail correspondences that were materially false. Defendant knew that the
                                          9    subsequent loan Plaintiff thought Defendant was receiving in September was not finalized, and
                                          10   the money was not guaranteed. Further, Defendant represented to Plaintiff that the note was

                                               secured by a violin bow collection, which, at the time of the agreement between Plaintiff and
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                                          11

                                          12   Defendant had been sold, leaving only a few bows left in the collection; rendering the collection
                                          13   retained by Defendant practically worthless. Defendant represented in the 341 meeting that
                                          14   she did not know the violin bow collection was sold by her husband, but it seems unlikely that
                                          15   a wife who share finances with her husband would not notice when over $250,000 was coming
                                          16   into bank accounts, or went debts were suddenly being paid off. Assuming Defendant’s
                                          17   representation is true, and she owned the violin bow collection jointly with her husband, her
                                          18   husband would have a duty to disclose to her that he was planning on selling their joint asset.

                                          19   The reasonable inference from Defendant’s situation is that she knew or at least should have

                                          20   suspected that the violin bow collection had been sold, or in the very least that the collection’s

                                          21   value was substantially diminished.

                                          22          40.    The materially false written statements made to Plaintiff were in regards to

                                          23   Defendant’s financial condition, which Plaintiff reasonably relied on when entering into the

                                          24   agreement to loan Defendant $240,000.

                                          25          41.    Defendant made the false written statements with an intent to deceive Plaintiff

                                          26   into believing that Defendant could repay the loan in the two month time period promised.
                                                                                           10
                                          27                 Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          1    Alternatively, Defendant made the false written statements to induce Plaintiff into believing he

                                          2    would still be compesanted for the loan in case of a default by the violin bow collection which

                                          3    was used as security for the loan.

                                          4            42.      As a direct and proximate result of Defendant’s materially false written

                                          5    statements, and Plaintiff’s reasonable reliance thereon, Defendant, obtained, diverted,

                                          6    misappropriated, embezzled, converted and concealed $240,000 belonging and payable to

                                          7    Plaintiff.

                                          8            43.      As set forth above, Defendant obtained money from Plaintiff by false written
                                          9    statements. Accordingly, pursuant to 11 U.S.C. § 523(a)(2)(B), Defendant is not entitled to a
                                          10   discharge of Plaintiff’s claim against him for the amount of $240,000, plus transaction costs,

                                               costs of suit, attorneys’ fees and interest.
LA W OF FI CE OF JO S EPH A . L E PE RA




                                          11

                                          12
                                                                                THIRD CLAIM FOR RELIEF
                                          13                    [For Nondischargeability of debt for breach of fiduciary duty
                                                                               Under 11 U.S.C. § 523(a)(4)]
                                          14

                                          15           44.      Plaintiff incorporates here in paragraphs 1 through 43 of this Complaint as set

                                          16   forth in full.

                                          17           45.      Pursuant to 11 U.S.C. § 523(a)(4), a discharge under section 727 does not

                                          18   discharge a debtor from any debt for fraud or defalcation while acting in a fiduciary capacity.

                                          19           46.      In order to prove breach of fiduciary duty under § 523(a)(4) the creditor must

                                          20   prove that (1) an express trust existed, (2) the debt was caused by fraud or defalcation, and (3)

                                          21   the debtor acted as a fiduciary to the creditor at the time the debt was created.

                                          22           47.      Element one of this above mentioned test is satisfied. A real estate broker may

                                          23   be placed into the role of a fiduciary under a technical or express trust with respect to funds

                                          24   held by a broker on behalf of a client. Cal. Bus. & Prof. Code § 10145. Here, Defendant held

                                          25   funds of $240,000 that were her client’s, and used her position as Plaintiff’s real estate broker

                                          26
                                                                                              11
                                          27                    Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
                                                       Complaint to Determine Nondischargeability of Debt Pursuant to 11 U.S.C. Sections
                                          28         523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
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                                          1    to obtain these funds and represented to Plaintiff that it was necessary she hold the funds to

                                          2    hide them from the lender to ensure that a loan modification was given.

                                          3            48.      Element two of the above mentioned test is satisfied. Defendant only obtained

                                          4    the funds by fraudulently representing to Plaintiff that she would hold the funds for him for

                                          5    two months at a 7.5% interest, and that this temporary transfer of $240,000 would help

                                          6    Plaintiff get a favorable loan modification. Plaintiff only loaned Defendant the funds as an

                                          7    investment, under his belief that Defendant was acting in his best interest.

                                          8            49.      Finally, the last element of the above mentioned test is met. Defendant is a
                                          9    licensed real estate broker in California. Defendant was hired by Plaintiff in March 2009 to
                                          10   assist Plaintiff in a loan modification. Defendant used her position as Plaintiff’s licensed real

                                               estate broker to obtain knowledge of Plaintiff’s financial situation, and play on Plaintiff’s need
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                                          12   for a loan modification to induce him into loaning Defendant $240,000 for two months.
                                          13   Defendant used her relationship with Plaintiff to find out how much liquid assets Plaintiff
                                          14   owned at the time, and then used her relationship with Plaintiff as Plaintiff’s real estate broker,
                                          15   to induce Plaintiff under false pretenses to invest most of his assets with her, in the form of a
                                          16   short loan. Defendant used her position as Plaintiff’s licensed real estate broker to willfully,
                                          17   wrongfully, intentionally, and fraudulently take $240,000 from Plaintiff. Accordingly pursuant
                                          18   to 11 U.S.C. § 523(a)(4), Defendant is not entitled to a discharge of Plaintiff’s claim against her

                                          19   in the amount of $240,000, plus transaction costs, costs of suit, attorneys fees, and interest.

                                          20
                                                                              FOURTH CLAIM FOR RELIEF
                                          21        [Nondischargeability of debt for willful or malicious injury caused by the debtor
                                                                              Under 11 U.S.C. § 523(a)(6)]
                                          22
                                                       50.      Plaintiff incorporates here in paragraphs 1 through 49 of this Complaint as set
                                          23
                                               forth in full.
                                          24

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                                          27                    Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          1           51.     Pursuant to 11 U.S.C. § 523(a)(6), a discharge under Section 727 does not

                                          2    discharge a debtor from any debt for willful and malicious injury by the debtor to another

                                          3    entity or to its property.

                                          4           52.     To establish that a particular debt qualifies for that exception, a creditor must

                                          5    prove by a preponderance of the evidence that (1) the debtor committed a wrongful and

                                          6    intentional act, (2) the act necessarily caused the judgment creditor's injury, (3) the act was

                                          7    without just cause or excuse, and (4) the debtor acted with the specific intent to cause injury.

                                          8           53.     As fully set forth above in paragraphs, 20-24, Defendant committed a wrongful
                                          9    and intentional act by representing to Plaintiff that she would pay him back within two
                                          10   months. Defendant knowingly and intentionally supported her promise to repay Plaintiff by

                                               representing to him that she was going to receive $240,000 from a subsequent loan in
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                                          12   September and representing to him that she had a violin bow collection worth between
                                          13   $250,000 and $500,000 that she could secure the note with.
                                          14          54.     Defendant’s acts and fraudulent misrepresentations caused Plaintiff to lend
                                          15   Defendant $240,000. Since Defendant did not secure a subsequent loan or have ownership or
                                          16   possession of the violin bow collection Defendant could not pay the balance of the loan,
                                          17   causing Plaintiff to lose $240,000 plus interest and attorneys fees.
                                          18          55.     Defendant’s acts were without just cause or excuse. Defendant knew that she

                                          19   had not completely and definitely secured a subsequent loan to repay Plaintiff, but represented

                                          20   to Plaintiff she did anyway. Defendant also knew that she did not have the violin bow collection

                                          21   to secure her note, but promised it to Plaintiff as collateral anyway. Defendant’s acts were not a

                                          22   mere mistake but were intentional misrepresentations without just cause or excuse.

                                          23          56.     Finally, Defendant acted to cause injury. Defendant did not have the means to

                                          24   repay Plaintiff, or any assets to sell sufficient to satisfy the debt. Any reasonable person would

                                          25   know that not having means to repay a loan, especially a loan of a substantial amount, would

                                          26   cause injury to the lender, especially in a case where a lender is an individual and not an
                                                                                                13
                                          27                  Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          1    institution. Defendant’s intentional acts of taking Plaintiff’s money without means to pay him

                                          2    back can only be interpreted that Defendant acted to cause Plaintiff injury.

                                          3            57.      Accordingly, pursuant to 11 U.S.C. § 523(a)(6), Defendant is not entitled to a

                                          4    discharge of Plaintiff’s claim against her in the amount of $240,000, plus transaction costs,

                                          5    costs of suit, attorneys fees, and interest.

                                          6    ///
                                                                              FIFTH CLAIM FOR RELIEF
                                          7
                                                [Nondischargeability of debt for transfer of property with intent to defraud a creditor
                                          8                               Under 11 U.S.C. § 727(a)(2)(A)]

                                          9            58.      Plaintiff incorporates here in paragraphs 1 through 57 of this Complaint as set

                                          10   forth in full.

                                                       57.      Pursuant to 11 U.S.C. § 727(a)(2)(A), the court shall not grant a discharge if “the
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                                          12   debtor, with intent to hinder, delay, or defraud a creditor or an officer of the estate charged

                                          13   with custody of property under this title, has transferred, removed, destroyed, mutilated, or

                                          14   concealed, or has permitted to be transferred, removed, destroyed, mutilated, or concealed—

                                          15   (A) property of the debtor, within one year before the date of the filing of the petition.”

                                          16           59.      Three elements must be met to state a successful claim under 11 U.S.C. §

                                          17   727(a)(2)(A). First, the debtor must have disposed of the property, this can be through, inter

                                          18   alia, transfer or concealment; second, the debtor must have a subjective intent to hinder, delay

                                          19   or defraud a creditor; finally the transfer must occur within one year prepetition.

                                          20           60.      In this case Defendant’s conduct has satisfied all three elements of the test. First,

                                          21   the debtor had disposed of the violin bows through a transfer, by selling the violin bows.

                                          22   Second, the Defendant transferred and sold the violin bows to make them unavailable to

                                          23   satisfy Plaintiff’s debt, but listed them as security for Plaintiff’s promissory note to ensure

                                          24   Plaintiff felt comfortable lending Defendant $240,000. Finally, Plaintiff on information and

                                          25   belief believes that the violin bows were sold a year before the bankruptcy.

                                          26           61.      Accordingly, Defendant transferred and sold the violin bows with the intent to
                                                                                              14
                                          27                    Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          1    defraud Plaintiff within the year before filing for bankruptcy. This transfer has significantly

                                          2    reduced Defendant’s bankruptcy estate, and has damaged Plaintiff in the amount of the

                                          3    principal loan, plus interest and attorneys fees.

                                          4                                    SIXTH CLAIM FOR RELIEF
                                          5            [Nondischargeability of debt for transfer failure to keep adequate records
                                                                             Under 11 U.S.C. § 727(a)(3)]
                                          6
                                                      62.      Plaintiff fully incorporates all preceding Paragraphs by this reference.
                                          7
                                                      63.      Pursuant to 11 U.S.C. § 727(a)(3) a debtor’s debt is not dischargeable if “the
                                          8
                                               debtor has concealed, destroyed, mutilated, falsified, or failed to keep or preserve any
                                          9
                                               recorded information, including books, documents, records, and papers, from which the
                                          10
                                               debtor’s financial condition or business transactions might be ascertained, unless such act or
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                                               failure to act was justified under all of the circumstances of the case.”
                                          12
                                                      64.      A prima face claim is made under 11 U.S.C. § 727(a)(3), if the creditor can show
                                          13
                                               (1) that the debtor failed to maintain and preserve adequate records, and (2) that such failure
                                          14
                                               makes it impossible to ascertain the debtor's financial condition and material business
                                          15
                                               transactions.
                                          16
                                                      65.      Both elements are met in this case. Defendant failed to maintain and preserve
                                          17
                                               adequate records of the violin bows. Defendant stated in her bankruptcy meeting that she was
                                          18
                                               unsure when and to whom the bows were sold to. Defendant also did not have appraisals or
                                          19
                                               records of other assets she held at the time Plaintiff gave Defendant the loan.
                                          20
                                                      66.      Plaintiff is unable to ascertain the debtor’s financial condition from the lack of
                                          21
                                               records. Defendant did not keep adequate records about the violin bows. Nevertheless,
                                          22
                                               Defendant used bows as a security interest for the $240,000 note, promising to provide
                                          23
                                               Plaintiff with documentation of the appraisal of the bows at a later date. Defendant failed to
                                          24
                                               produce any appraisal documentation.
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                                          27                   Michael Degtyarev v. Elizabeth Igudesman. – Case No. 10-32694
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                                          28         523(a)(2)(A), 523(a)(2)(B), 523(a)(4), 523(a)(6), 727(a)(2)(A) and 727(a)(3)
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                                          1           67.    As a result of Defendant’s failure to maintain adequate records, Plaintiff is unable

                                          2    to ascertain the debtor’s financial condition in violation of § 727(a)(3).

                                          3           WHEREFORE, Creditor DEGTYAREV prays that this Honorable Court determine that

                                          4    Debtor’s bankruptcy case be dismissed based on his violations of sections 727 (a)(2)-(3);

                                          5    alternatively that obligation of Debtor ELIZABETH IGUDESMAN to Creditor DEGTYAREV is

                                          6    deemed to be nondischargeable under 11 USC § 523 (a)(2)(A) and/or (B); § 523 (a)(4) and

                                          7    (a)(6) and that judgment be entered against Debtor IGUDESMAN as follows:

                                          8           (1)    For general damages in the sum of $293,360.64 ;
                                          9           (2)    Attorneys fees, according to proof;
                                          10          (3)    For costs of suit herein incurred; and

                                                      (4)    For such other and further relief as the court may deem just and proper.
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                                               DATED: October 25, 2010                     Respectfully Submitted,
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                                                                                           LAW OFFICE OF JOSEPH A. LEPERA
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                                                                                           By:
                                          16                                                     Joseph A. Lepera
                                                                                                 Attorneys for Plaintiff
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